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UNlTED STATES DISTRICT COURT

MIDDLE DISTRICT oF FLORIDA zg;i. H,.-iR 19 PH g= 15
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TRACI scHMIDT, ) ., .. , 1 t _ , mall »
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v_r § Case No. €>’i\`-\_()\)" SKQK‘J“BQ del
INDYMAC MoRTGAGE sERVICEs, §
Defendant. §

PLAINTIFF’S COMPLAINT
Plaintiff, TRACI SCHI\/IIDT (“Plaintiff”), through her attorneys, The Law Offices of
Robert Peters, P.A., alleges the following against Defendant, INDYMAC MORTGAGE
SERVICES (“Def`endant”):
INTRODUCTION
l. Count l of Plaintiff’s Complaint is based on the Telephone Consumer Protection Act., 47

u.s.C. §227, er seq. (“TCPA”).

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Count ll of Plaintifi`s Cornplaint is based on the Florida Consumer Collection Practices
Act, Fla. Stat. §559.72, et seq. (“FCCPA”).
JURISDICTION AND VENUE
3. This Court hasjurisdiction under 28 U.S.C. §1331 and 15 U.S.C. §l692k (“FDCPA”).
4. Jurisdiction of this court arises pursuant to 15 U.S.C. 1692k(d), which states that such

actions may be brought and heard before “any appropriate United States district court

without regard to the amount in controversy.”

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5. This Court has jurisdiction over Plaintiff’s TCPA claim pursuant to Mims v. Arrow
Financial Svcs. LLC, 132 S. Ct. 740, 2012 WL 125249 (Jan. 18, 2012).

6. Venue and personal jurisdiction in this District are proper because Defendant does or
transacts business within this District, and a material portion of the events at issue
occurred in this District.

PARTIES

7. Plaintif`f is a natural person residing in Jacksonville, Duval County, Florida.

8. Plaintiff` allegedly owes a consumer debt as that term is defined by the FCCPA.

9. Plaintift`is a consumer as that term is defined by the FCCPA.

10. Plaintiff is a person as defined by the TCPA.

11. Defendant is a creditor as that term is defined by the FCCPA.

12. Defendant is a debt collector as that term is defined by the FCCPA.

13. Defendant is a person as defined by the TCPA.

14. Within the last two years, Defendant attempted to collect a consumer debt from Plaintiff.

15. Within the last two years, Defendant communicated with Plaintif`f as that term is defined
by the FCCPA.

16. Defendant is headquartered in Pasadena, California, and is a national mortgage servicer
and lender to consumers.

17. Defendant engages in debt collection in the State of` Florida.

18. Defendant regularly collects, or attempts to collect, debts owed or due or asserted to be
owed or due another.

19. During the course of its attempts to collect debts owed or due or asserted to be owed or

due another, Defendant sends to alleged debtors bills, statements, and/or other
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correspondence, via the mail and/or electronic mail, and initiates contact with alleged
debtors via various means of telecommunication, such as by telephone and facsimile.

20. Defendant acted through its agents, employees, officers, members, directors, heirs,
successors, assigns, principals, trustees, sureties, subrogees, representatives, and
insurers.

FACTUAL ALLEGATIONS

21. Defendant is attempting to collect a consumer debt from Plaintiff originating from
certain real property originally owned by Plaintiff’s mother, Who is now deceased.

22. Plaintiff’ s alleged debt owed arises from transactions for personal, family, and household
purposes

23. On December 30, 2011, Plaintiff filed a Voluntary Bankruptcy Petition in the United
States Bankruptcy Court, Middle District of Florida, Case No.: 321 1-bk-09340.

24. All of Plaintit`f`s creditors holding unsecured and/or unsecured claims - including real
property located at 12128 Hidden Hills Drive, Jacksonville, Florida, 32225 - were
properly scheduled in Plaintiff`s Voluntary Bankruptcy Petition Schedule D.

25. All creditors holding secured claims and also unsecured claims were properly scheduled
in Plaintit`f`s Voluntary Bankruptcy Petition.

26. Plaintiff scheduled all creditors holding secured claims and also unsecured claims in
Plaintiff’s bankruptcy at addresses known to be addresses of all creditors holding claims,
respectively

27. On January 5, 2012, .loseph Speetjens, al the Bankruptcy Noticing Center, mailed, by
first-class mail, Plaintiff’s Bankruptcy Petition to all creditors holding secured claims

and/or unsecured claims at the creditors’ respective addresses
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Plaintiff’s Bankruptcy Petition mailed to all creditors on January 5, 2012, was not
returned by the post office.
Shortly after Plaintif`f filed for bankruptcy, all creditors holding secured and/or unsecured
claims received notice of` PlaintifF s Voluntary Bankruptcy Petition.
Shortly after Plaintiff filed for bankruptcy, all creditors holding secured and/or unsecured
claims had knowledge of Plaintif`f’s Voluntary Bankruptcy Petition.
Shortly after Plaintiff filed for bankruptcy, all creditors holding secured and/or
unsecured claims had Plaintiff`s bankruptcy attorney’s name, address, and telephone
number.
On April 9, 2012, the Bankruptcy Court entered a discharge in this case under 1 1 U.S.C.
§727, which discharged Plaintiff` f`rom personal liability on the indebtedness owed to all
creditors holding secured and/or unsecured claims. See the Discharge Order attached as
Exhibit A.
The explanation accompanying the discharge order from the Bankruptcy Court provided
the following information to all creditors holding secured and/or unsecured claims:

The discharge prohibits any attempt to collect from the debtor a

debt that has been discharged For example, a creditor is not

permitted to contact a debtor by mail, phone, or otherwise, to file

or continue a lawsuit, to attach wages or other property, or to take

any other action to collect a discharged debt from the debtor.... A

creditor who violates this order can be required to pay damages

and attorney’s fees to the debtor.

I-Iowever, a creditor may have the right to enforce a valid lien, such

as a mortgage or security interest, against the debtor’s property

after the bankruptcy, if` that lien Was not avoided or eliminated in
the bankruptcy,

34. On April 11, 2012, Joseph Speetjens, at the Bankruptcy Noticing Center, mailed, by

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first-class mail, the Discharge Order to all creditors holding secured/and or unsecured
claims at the creditors’ respective mailing addresses

The Discharge Order mailed by the Bankruptcy Noticing Center on April 11, 2012, was
not returned by the post office.

Shortly after the Bankruptcy Court entered a discharge, all creditors holding secured
and/or unsecured claims received notice of the discharge

In or around 2012, Defendant began placing repeated and continuous collections calls to
Plaintiff in attempt to collect on an alleged debt.

Defendant calls Plaintiff at Plaintist cell phone number, 904-502-78XX.

Defendant calls Plaintiff up to four to six times per day on her cell phone seeking and
demanding payment on the alleged debt.

Plaintiff believed these collection calls were attempting to collect a debt from Plaintiff.
Defendant attempted to collect the alleged debt from Plaintiff` on at least one occasion
after Plaintif`f` filed a Voluntary Bankruptcy.

Defendant attempted to collect the alleged debt from Plaintiff` on at least one occasion
after all creditors holding secured and/or unsecured claims had notice that PlaintifPs
alleged respective debts have been discharged in Voluntary Bankruptcy.

Plaintiff has explained to Defendant’s representatives on literally dozens of occasions
that Plaintif`f` does not owe the debt on which Defendant is seeking to collect; that
Plaintiff` has received a discharge in Voluntary Bankruptcy concerning all of Plaintiff`s
previous creditors holding secured and/or unsecured claims; that Plaintif`f refuses to pay
anything on the alleged debt which Defendant claims; and that all further collections

calls to Plaintiff from Defendant in connection with the alleged debt cease.
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44. Despite the foregoing, Defendant has continued to place repeated and continuous

collections calls directly to Plaintiff seeking and demanding payment on the alleged debt

in effort to coerce, harass, and intimidate Plaintiff into payment of the alleged debt.

45. Defendant left voicemail messages on Plaintiff’s cellular telephone if Plaintiff did not

answer Defendant’s calls. In these messages, Defendant utilized an “artificial or

prerecorded voice” as prohibited by 47 U.S.C. § 227(b)(l)(A).

46. Defendant used an “automatic telephone dialing system”, as defined by 47 U.S.C. §

227(a)(1), to place its repeated collection calls to Plaintiff seeking to collect the debt

allegedly owed.

47. Defendant’s calls constituted calls that were not for emergency purposes as defined by 47

U.s.C. § 227(b)(1)(A).

48. Defendant’s calls were placed to telephone number assigned to a cellular telephone

service for which Plaintiff incurs a charge for incoming calls pursuant to 47 U.S.C. §

227(b)(l).

49. Plaintiff is not a customer of Defendant’s services, does not owe any sum of money to

Defendant and has never provided any personal information, including her cellular

telephone number, to Defendant for any purpose whatsoever. Accordingly, Defendant

never received Plaintiff"s “prior express consent” to receive calls using an automatic

telephone dialing system or an artificial or prerecorded voice on her cellular telephone

pursuant to 47 U.s.C. § 227(b)(1)(A).

COUNT I
DEFENDANT VIOLATED THE
TELEPHONE CONSUMER PROTECTION ACT
50. Defendant’s conduct violated the TCPA based on, but not limited to, the following:

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a. Using any automatic telephone dialing system or an artificial or pre-recorded
voice to any telephone number assigned to a paging service, cellular telephone
service, specialized mobile radio service, or other radio common carrier service,
or any service for which the called party is charged for the call (47 USC
§227(b)(A)(iii)), when Defendant has used an “automatic telephone dialing
system” to place dozens of automated calls to Plaintiff"s cellular telephone, often
up to four to six calls per day. Defendant utilized an “artificial or prerecorded
voice” as prohibited by 47 U.S.C. § 227(b)(1)(A). 'I`he foregoing
communications or attempted communications by Defendant to Plaintiff were
communications for which Plaintiff may have incurred charges with her cellular
phone service provider or carrier.

51. As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et seq., Plaintiff is
entitled an award of 3500.00 in statutory damages, for each and every violation, pursuant
to 47 U.S.C. § 227(b)(3)(B).

52. As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. § 227 et seq.,
Plaintiff is entitled an award of $1,500.00 in statutory damages, for each and every
violation, pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

53. Plaintiff is entitled to and seek injunctive relief prohibiting such conduct in the future.
WHEREFORE, Plaintiff, TRACI SCHMIDT, respectfully requests judgment be entered

against Defendant, INDYMAC MORTGAGE SERVICES, for the following:

54. As a result of Defendant’s negligent violations of 47 U.S.C. §227(b)(1), Plaintiff is
entitled to and requests $500 in statutory damages, for each and every violation, pursuant

to 47 U.S.C. 227(b)(3)(B).

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55. As a result of Defendant’s willful and/or knowing violations of 47 U.S.C. §227(b)(1),
Plaintiff is entitled to and requests treble damages, as provided by statute, up to $1,500,
for each and every violation, pursuant to 47 U.S.C. §227(b)(3)(B) and 47 U.S.C.
§227(b)(3)(C)-

56. Any other relief this l~lonorable Court deems appropriate

COUNT II
DEFENDANT VIOLATED THE
FLORIDA CONSUMER COLLECTION PRACTICES ACT

57. Plaintiff repeats and re-alleges paragraphs 1-49 of Plaintiff`s Complaint as the
allegations in Count ll of Plaintiff"s Complaint.
58. Defendant violated the FCCPA based on, but not limited to, the following:

a. Defendant violated the §559.72(7) of the FCCPA by willfully communicating
with a debtor with such frequency as can be reasonably expected to harass, or
willfully engaging in such conduct as can be reasonably expected to abuse the
debtor when Defendant, throughout 2012, placed repeated and continuous
collections calls to Plaintiff on Plaintiff’s cell phone number, often up to four to
five times per day, seeking and demanding payment on an alleged debt which
Plaintiff has on literally dozens of occasions informed Defendant that Plaintiff
does not owe, refuses to pay on, and demanded that further calls cease;

b. Defendant violated the §559.72(9) of the FCCPA by attempting to enforce a debt
when such person knows that the debt is not legitimate or assert the existence of
some other right when such person knows that the right does not exist when
Defendant continued to place repeated collections calls to Plaintiff, despite

Plaintiff having informed Defendant on literally dozens of occasions that Plaintiff

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has received a discharge in Voluntary Bankruptcy, Case No.: 3:11-bk-09340,
with respect to all of Plaintiff’s secured and/or unsecured claims; and
c. Defendant violated the §559.72(18) of the FCCPA by communicating with a
debtor if the person knows that the debtor is represented by an attorney with
respect to such debt and has knowledge of, or can readily ascertain, such
attorney’s name and address when Defendant continued to place collections calls
to Plaintiff in connection with a debt on which Plaintiff has retained a bankruptcy
attorney, and subsequently filed for and received a discharge in Voluntary
Bankruptcy proceedings, Case No.: 3:1 l-bk-09340.
WHEREFORE, Plaintiff, TRACI SCHMIDT, respectfully requests judgment be entered
against Defendant, INDYMAC MORTGAGE SERVICES, for the following:
59. Statutory damages of $1,000.00 pursuant to the Florida Consumer Collection Practices
Act, Fla. Stat. §559.77;
60.Costs and reasonable attorneys’ fees pursuant to the Florida Consumer Collection
Practices Act, Fla. Stat. §559.77; and
61. Any other relief this Honorable Court deems appropriate
RESPECTFULLY SUBMITTED,

By: MO;`

Robert Peters, Esq.

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